UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF INDIANA

In re the suspension of Thomas W. Hargrove ED psy

Indiana Attorney Number 20472-64 Nap JUN 17 2029

1. My name is Thomas W. Hargrove.
2. Iwas admitted to practice in the State of Indiana on December 22, 1997.
3. My license was suspended on June 28, 2021 for failing to comply with
Indiana Rule of Professional Conduct 29. ,
_ 4. I subsequently completed all of the continuing education requirements
set forth in Rule 29, §10(b).
5. I applied for reinstatement and was reinstated by the Indiana Supreme
Court to Active in Good Status standing on January 21, 2022.
6. Along with this Petition, I have tendered a check payable to the United
States District Court Clerk in the amount of $42.00
7. I respectfully request that my admission to practice in the Northern
District of Indiana be reinstated, and for other relief honorable and just

under the circumstances.

Respectfully submitted,

Thomas W. Hargrove

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